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                                UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF NEW JERSEY



   MALIBU MEDIA, LLC,
                                                           CaseNo. 2:l8-cv-13737-WJM-ESK
                            Plaintiff,

   V.


   VINCENT NOLAN,

                            Defend ant.




              ORDER ON PLAINTIFF’S MOTION FOR VOLUNTARY DISMISSAL
                                 WITH PREJUDICE


           THIS CAUSE came before the Court       upon   Plaintiffs Motion for Voluntary Dismissal

  with Prejudice (the “Motion”), and the Court being duly advised     in   the premises does hereby:

  ORDERED and ADJUDGED: Plaintiffs Motion is GRANTED.


        1. Plaintiffs claim against Defendant. Vincent Nolan, is dismissed with prejudice.

        2. Each party is to bear its own attorneys’ fees and costs.

                      DONE AND ORDERED thf                            ,                 2020.
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                       13y:
                                 U—I i’-f7 J)LA-i2d- 41
                              UNITED STATE’S DISTRICT JUDGE




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